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                       Exhibit A
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REALTOR MAGAZINE Mailing List
REALTOR MAGAZINE is the official magazine of the NATIONAL ASSOCIATION OF REALTORS (NAR) - the largest
trade association in the world with over 1.3 million members. The magazine is published 6 times per year
and reports on industry best practices, trends and tools of the trade - all with the mission of helping NAR's
members achieve business success. Subscribers are real estate professionals who are members of NAR and
adhere to its strict Code of Ethics.


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SEGMENTS                                      COUNTS THROUGH 01/10/2022    POPULARITY:       100
    1,413,832 TOTAL UNIVERSE / BASE RATE                      $120.00/M    MARKET:       BUSINESS
    1,413,832 ACTIVE SUBSCRIBERS                              $120.00/M    CHANNELS:
      511,141 BUSINESS ADDRESS                               + $10.00/M    SOURCE:       MEMBERSHIP
      848,566 HOME ADDRESS                                   + $10.00/M    PRIVACY:      UNKNOWN
       74,512 COMMERCIAL REALTOR                             + $20.00/M    DMA?:         YES - MEMBER
              CONSUMER OFFER RATE                              $95.00/M    STATUS:       STANDARD PROVIDER
              FUNDRAISING RATE                                 $85.00/M    GEO:          USA
DESCRIPTION                                                                              48% FEMALE 42% MALE
                                                                           GENDER:
REALTOR MAGAZINE is the official magazine of the NATIONAL
ASSOCIATION OF REALTORS (NAR) - the largest trade association in           SELECTS
                                                                           # OF AGENTS                $15.00/M
the world with over 1.3 million members. The magazine is published
                                                                           AGE                        $10.00/M
6 times per year and reports on industry best practices, trends
                                                                           GENDER/SEX                  $5.00/M
and tools of the trade - all with the mission of helping NAR's             INCOME SELECT              $15.00/M
members achieve business success.      Subscribers are real estate         MEMBER TYPE                $20.00/M
professionals who are members of NAR and adhere to its strict Code         SCF                        $10.00/M
of Ethics.                                                                 SPECIAL SEL.               $15.00/M
                                                                           STATE                      $10.00/M
REALTOR MAGAZINE subscribers represent a massive market for                ZIP                        $10.00/M

products and services, collectively spending $6.6 billion annually ADDRESSING
for their businesses.                                                      KEY CODING                  $5.00/M
                                                                           BUSINESS ADDRESS           $10.00/M
                                                                           FTP                        $50.00/F
  ************** Fast Facts *****************
                                                                           HOME ADDRESS               $10.00/M
  Median Age of Realtors...................54
                                                                           RELATED LISTS
  Average HH Income..................$100,800
                                                                             AMERICAN BAR ASSOCIATION
  Average realtor income..............$99,800                                MASTERFILE
  Average Realtor Investment.........$460,200                                ACXIOM INFOBASE CONSUMER LIST
  Own computers & electronics at home.....95%                                AMERICAN CITY BUSINESS
  Own/Use computers for work..............94%                                JOURNALS - U.S. SUBSCRIBERS
                                                                             AMERICAN BAR ASSOCIATION SOHO
  Use cellular phones.....................95%                                LAWYERS
  Have Online/Internet access at home.....90%                                ACCUTREND NEW BUSINESS LEADS
  Have investment portfolios..............80%                                - NBD
  Work from Home Office...................81%                                HARVARD BUSINESS REVIEW -
                                                                             ACTIVE SUBSCRIBERS
  Give business gifts.....................82%
                                                                             COMMERCIAL PROPERTY EXECUTIVE
  Average Gift Amount.....................$55                                MAGAZINE (FORMERLY COMMERCIAL
  Attended college........................83%                                PROPERTY NEWS)
  *******************************************                                NATIONAL REAL ESTATE DATABASE
                                                                             WEALTHIER INVESTMENT
                                                                             MASTERFILE
                                                                             TRANSFORMING DEBT INTO WEALTH
ORDERING INSTRUCTIONS                                                        SYSTEM
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